            Case 25-31438-BFK                           Doc 13           Filed 04/28/25 Entered 04/28/25 10:36:11                                                      Desc Main
                                                                        Document      Page 1 of 54

 Fill in this information to identify your case:

 Debtor 1
                     James Bradford Hines Sr.
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of Virginia District of __________
                                                                                                (State)
 Case number           25-31438
                     ___________________________________________                                                                                                          Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 446,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 111,051.68
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 557,051.68
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 364,741.77
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      + $ 608,777.23
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 973,519.00
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 15,268.33
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 14,423.39
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
            Case 25-31438-BFK                   Doc 13          Filed 04/28/25 Entered 04/28/25 10:36:11                             Desc Main
                  James Hines Sr.
                                                               Document      Page 2 of 54
                                                                                                                         25-31438
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                              $_____________________


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                    $_____________________



    9d. Student loans. (Copy line 6f.)                                                                     $_____________________


    9e. Obligations arising out of a separation agreement or divorce that you did not report as            $_____________________
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                    $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
             Case 25-31438-BFK                                 Doc 13              Filed 04/28/25 Entered 04/28/25 10:36:11                                                                   Desc Main
                                                                                  Document      Page 3 of 54

Fill in this information to identify your case and this filing:

                     James Bradford Hines Sr.
Debtor 1
                     First Name              Middle Name                 Last Name

Debtor 2
(Spouse, if filing)    First Name               Middle Name                 Last Name


United States Bankruptcy Court for the: Eastern District of
Virginia
                                                                                                                                                                                                        Check if this is
Case number 25-31438                                                                                                                                                                                    an amended
(if know)
                                                                                                                                                                                                        filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?

                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
    1.1 259 N Point Dr                                                             Single-family home                                                           amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                                   Duplex or multi-unit building                                                Creditors Who Have Claims Secured by Property:
                                                                                   Condominium or cooperative                                                   Current value of the                Current value of the
                                                                                   Manufactured or mobile home                                                  entire property?                    portion you own?
            Clarksville VA          23927
                                                                                   Land                                                                         $ 446,000.00                        $ 446,000.00
            City           State    ZIP Code
                                                                                   Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                   Timeshare                                                                    interest (such as fee simple, tenancy by the
            Mecklenburg County                                                     Other                                                                        entireties, or a life estate), if known.

            County                                                               Who has an interest in the property? Check                                     Tenancy by the Entireties
                                                                                 one
                                                                                      Debtor 1 only                                                                  Check if this is community property
                                                                                      Debtor 2 only
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤        $ 446,000.00


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes




                                                                                                                                                                                                                page 1 of 7
             Case 25-31438-BFK                                   Doc 13             Filed 04/28/25 Entered 04/28/25 10:36:11 Desc Main
Debtor 1          James Bradford Hines Sr.
                 First Name          Middle Name         Last Name
                                                                                   Document      Page 4 of 54     Case number(if known) 25-31438



    3.1 Make:Chevrolet                                                            Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:2500 High Country                                                                                                                              amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2020
                                                                                       Debtor 2 only
           Approximate mileage: 154000                                                                                                                             Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another                                     $ 34,000.00
              Condition:Good;                                                                                                                                                                           $ 34,000.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

    3.2 Make:Ford                                                                 Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:F250                                                                                                                                           amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2021
                                                                                       Debtor 2 only
           Approximate mileage: 92000                                                                                                                              Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another
              Condition:Good;                                                                                                                                      $ 49,240.00                          $ 24,620.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
          Yes

     4.1 Make:Bentley Admiral                                                     Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:Pontoon w/ trailer                                                                                                                             amount of any secured claims onSchedule D:
                                                                                        Debtor 1 only                                                           Creditors Who Have Claims Secured by Property:
           Year:                              2020
                                                                                        Debtor 2 only
            Other information:                                                                                                                                  Current value of the                Current value of the
                                                                                        Debtor 1 and Debtor 2 only                                              entire property?                    portion you own?
           Condition:
                                                                                        At least one of the debtors and another                                 $ 29,000.00                         $ 29,000.00
                                                                                      Check if this is community property (see
                                                                                  instructions)
     4.2 Make:Polaris                                                             Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:XP4 1000 SXS                                                                                                                                   amount of any secured claims onSchedule D:
                                                                                        Debtor 1 only                                                           Creditors Who Have Claims Secured by Property:
           Year:                              2020
                                                                                        Debtor 2 only
             Other information:                                                                                                                                 Current value of the                Current value of the
                                                                                        Debtor 1 and Debtor 2 only                                              entire property?                    portion you own?
            Condition:Poor; Not running;
                                                                                        At least one of the debtors and another                                 $ 5,400.00                          $ 5,400.00
                                                                                      Check if this is community property (see
                                                                                  instructions)
     4.3 Make:24'                                                                 Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:Trailer                                                                                                                                        amount of any secured claims onSchedule D:
                                                                                        Debtor 1 only                                                           Creditors Who Have Claims Secured by Property:
           Year:                              2021
                                                                                        Debtor 2 only
            Other information:                                                                                                                                  Current value of the                Current value of the
                                                                                        Debtor 1 and Debtor 2 only                                              entire property?                    portion you own?
            Condition:
                                                                                        At least one of the debtors and another                                 $ 1,500.00                          $ 1,500.00
                                                                                      Check if this is community property (see
                                                                                  instructions)
     4.4 Make:EZ Go                                                               Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:Golf Cart                                                                                                                                      amount of any secured claims onSchedule D:
                                                                                        Debtor 1 only                                                           Creditors Who Have Claims Secured by Property:
           Year:                              2020
                                                                                        Debtor 2 only
            Other information:                                                                                                                                  Current value of the                Current value of the
                                                                                        Debtor 1 and Debtor 2 only                                              entire property?                    portion you own?
            Condition:
                                                                                        At least one of the debtors and another
                                                                                                                                                                $ 2,500.00                          $ 2,500.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤           $ 97,020.00



 Part 3:        Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?



                                                                                                                                                                                                                  page 2 of 7
            Case 25-31438-BFK                      Doc 13    Filed 04/28/25 Entered 04/28/25 10:36:11 Desc Main
Debtor 1        James Bradford Hines Sr.
               First Name      Middle Name   Last Name
                                                            Document      Page 5 of 54     Case number(if known) 25-31438



  6. Household goods and furnishings                                                                                          Do not deduct secured
                                                                                                                              claims or exemptions.
       Examples: Major appliances, furniture, linens, china, kitchenware
            No
            Yes. Describe...

           Household goods and furnishinga
                                                                                                                              $ 4,000.00


  7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

            No
            Yes. Describe...

           Household electronics
                                                                                                                              $ 900.00


  8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

            No
            Yes. Describe...
  9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                 and kayaks; carpentry tools; musical instruments

            No
            Yes. Describe...
  10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe...
  11. Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe...

           Wearing apparel
                                                                                                                              $ 350.00


  12. Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                 gold, silver

            No
            Yes. Describe...

           Wedding band
                                                                                                                              $ 500.00


  13. Non-farm animals
       Examples: Dogs, cats, birds, horses

            No
            Yes. Describe...

           2 mixed breed dogs, 2 house cats
                                                                                                                              $ 1.00




                                                                                                                                           page 3 of 7
           Case 25-31438-BFK                                        Doc 13               Filed 04/28/25 Entered 04/28/25 10:36:11 Desc Main
Debtor 1          James Bradford Hines Sr.
                First Name            Middle Name           Last Name
                                                                                        Document      Page 6 of 54     Case number(if known) 25-31438



  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤            $ 5,751.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     Truist (joint w/ spouse, 50% interest)                                                                                           $ 587.41

        17.2. Checking account:                                     PNC (joint - 50% interest)                                                                                                       $ 87.27

        17.3. Savings account:                                      Truist (joint w/ spouse, 50% interest)                                                                                           $ 10.83

        17.4. Savings account:                                      Truist (joint w/ spouse, 50% interest)                                                                                           $ 10.17

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........
        Name of entity:                                                                                                                                          % of ownership:
        H&S Construction & Design LLC                                                                                                                            100                %                $ 0.00
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No
             Yes. Give specific information about them..........
  21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

             No
             Yes. List each account separately
        Type of account                         Institution name
        401(k) or similar plan:                 401k                                                                                                                                                 $ 2,800.00
  22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                  companies, or others

             No
             Yes.....................




                                                                                                                                                                                                                  page 4 of 7
            Case 25-31438-BFK                          Doc 13    Filed 04/28/25 Entered 04/28/25 10:36:11 Desc Main
Debtor 1         James Bradford Hines Sr.
               First Name          Middle Name   Last Name
                                                                Document      Page 7 of 54     Case number(if known) 25-31438



  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
            No
            Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
            No
            Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
            No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

            No
            Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

            No
            Yes. Give specific information about them...

           VA Class A Contractor, NC Limited General Contractor
                                                                                                                                       $ 0.00


 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.
  28. Tax refunds owed to you
            No
            Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                  Federal:            $ 0.00
                                                                                                                  State:              $ 0.00
                                                                                                                  Local:              $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

            No
            Yes. Give specific information....
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

            No
            Yes. Give specific information....
  31. Interests in insurance policies
            No
            Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
            No
            Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
            No
            Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
       off claims
            No
            Yes. Give specific information....


                                                                                                                                                   page 5 of 7
            Case 25-31438-BFK                                   Doc 13              Filed 04/28/25 Entered 04/28/25 10:36:11 Desc Main
Debtor 1         James Bradford Hines Sr.
                First Name          Middle Name          Last Name
                                                                                   Document      Page 8 of 54     Case number(if known) 25-31438



  35. Any financial assets you did not already list
             No
             Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
      you have attached for Part 4. Write that number here...........................................................................................................................................➤            $ 3,495.68


 Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 6.
             Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                                   claims or exemptions.
  38. Accounts receivable or commissions you already earned
             No
             Yes. Describe...
  39. Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic
                  devices

             No
             Yes. Describe...
  40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
             No
             Yes. Describe...

           Handheld tools
                                                                                                                                                                                                     $ 4,785.00


  41. Inventory
             No
             Yes. Describe...
  42. Interests in partnerships or joint ventures
             No
             Yes. Describe........
  43. Customer lists, mailing lists, or other compilations
             No
             Yes.Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
  44. Any business-related property you did not already list
             No
             Yes. Give specific information ...........

 45. Add the dollar value of the portion you own for all of your entries from Part 5, including any entries for pages
      you have attached for Part 5. Write that number here...........................................................................................................................................➤            $ 4,785.00


                Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:        If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
             No. Go to Part 7.
             Yes. Go to line 47.


 Part 7:       Describe All Property You Own or Have an Interest in That You Did Not List Above




                                                                                                                                                                                                                  page 6 of 7
             Case 25-31438-BFK                                        Doc 13               Filed 04/28/25 Entered 04/28/25 10:36:11 Desc Main
Debtor 1            James Bradford Hines Sr.
                  First Name            Middle Name           Last Name
                                                                                          Document      Page 9 of 54     Case number(if known) 25-31438



  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                               $ 0.00

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                            $ 446,000.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 97,020.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 5,751.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 3,495.68
  59. Part 5: Total business-related property, line 45                                                                         $ 4,785.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 111,051.68                        Copy personal property total➤   +$
                                                                                                                                                                                                         111,051.68
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                  $ 557,051.68




                                                                                                                                                                                                              page 7 of 7
           Case 25-31438-BFK                     Doc 13       Filed 04/28/25 Entered 04/28/25 10:36:11                                        Desc Main
                                                             Document     Page 10 of 54
 Fill in this information to identify your case:

                     James Bradford Hines Sr.
 Debtor 1          __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of Virginia District of __________
                                                                                    (State)
 Case number
  (If known)
                      25-31438
                     ___________________________________________                                                                                  Check if this is an
                                                                                                                                                      amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                             4/25

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the                    Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own                         exemption you claim

                                                            Copy the value from                     Check only one box
                                                            Schedule A/B                            for each exemption
                 259 N Point Dr                                                                                                    In re Bunker, 312 f.3d 145 (4th Cir
 Brief                                                                                                                             2002)
 description:
                                                                    446,000.00
                                                                   $________________             190,617.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:        1.1
                 259 N Point Dr                                                                                                    Va. Code Ann. § 34-4
 Brief
 description:
                                                                     446,000.00
                                                                   $________________             50,000.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:         1.1
                 2020 Chevrolet 2500 High Country                                                                                  Va. Code Ann. § 34-26 (8)
 Brief
 description:
                                                                     34,000.00
                                                                   $________________             1.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:           3.1

 3. Are you claiming a homestead exemption of more than $214,000?
     (Subject to adjustment on 4/01/28 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔ No

      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                              3
                                                                                                                                                            page 1 of __
           Case 25-31438-BFK Doc 13 Filed 04/28/25 Entered 04/28/25 10:36:11 Desc Main
Debtor        James Bradford Hines Sr. Document
             _______________________________________________________
                                                                     Page 11 of Case
                                                                                 54 number (if known)_____________________________________
                                                                                                      25-31438
                First Name        Middle Name        Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                    Amount of the                        Specific laws that allow exemption
                                                                           Current value of the   exemption you claim
         on Schedule A/B that lists this property                          portion you own
                                                                          Copy the value from    Check only one box
                                                                           Schedule A/B           for each exemption
               2021 Ford F250                                                                                                           Va. Code Ann. § 34-26 (8)
Brief
description:
                                                                            24,620.00
                                                                           $________________         1.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:        3.2
               2020 Bentley Admiral Pontoon w/ trailer                                                                                  Va. Code Ann. § 34-4; Va. Code Ann.
Brief
description:                                                               $________________
                                                                            29,000.00             
                                                                                                  ✔ $ ____________
                                                                                                      1,959.00                          § 34-18; Va. Code Ann. § 34-20
                                                                                                   100% of fair market value, up to
                                                                                                      any applicable statutory limit
Line from
Schedule A/B:         4.1
               2021 24' Trailer                                                                                                         Va. Code Ann. § 34-4; Va. Code Ann.
Brief                                                                                                                                   § 34-18; Va. Code Ann. § 34-20
description:                                                               $________________
                                                                            1,500.00              
                                                                                                  ✔ $ ____________
                                                                                                      1,500.00
                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:        4.3
               2020 EZ Go Golf Cart                                                                                                     Va. Code Ann. § 34-26 (8)
Brief
description:
                                                                            2,500.00
                                                                           $________________         2,500.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:        4.4
               Household Goods - Household goods and furnishinga                                                                        Va. Code Ann. § 34-26 (4a)
Brief
description:
                                                                            4,000.00
                                                                           $________________         4,000.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         6
               Electronics - Household electronics                                                                                      Va. Code Ann. § 34-26 (4a)
Brief
description:
                                                                            900.00
                                                                           $________________         900.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         7
               Clothing - Wearing apparel                                                                                               Va. Code Ann. § 34-26 (4)
Brief
description:
                                                                            350.00
                                                                           $________________         350.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:         11
               Jewelry - Wedding band                                                                                                   Va. Code Ann. § 34-26 (1a)
Brief
description:
                                                                            500.00
                                                                           $________________         500.00
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
                                                                                                      any applicable statutory limit
Line from
Schedule A/B:          12
               Pet(s) - 2 mixed breed dogs, 2 house cats                                                                                Va. Code Ann. § 34-26 (5)
Brief
description:
                                                                            1.00
                                                                           $________________       $ ____________
                                                                                                  ✔   1.00
                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:           13
               Truist (joint w/ spouse, 50% interest) (Checking Account)                                                                Va. Code Ann. § 34-29
Brief                                                                       587.41
description:                                                               $________________       $ ____________
                                                                                                  ✔   403.06
                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:           17.1
               Truist (joint w/ spouse, 50% interest) (Checking Account)                                                                Va. Code Ann. § 34-4; Va. Code Ann.
Brief                                                                                                                                   § 34-18; Va. Code Ann. § 34-20
description:
                                                                            587.41
                                                                           $________________         184.35
                                                                                                  ✔ $ ____________
                                                                                                   100% of fair market value, up to
                                                                                                      any applicable statutory limit
Line from
Schedule A/B:         17.1
               PNC (joint - 50% interest) (Checking Account)                                                                            Va. Code Ann. § 34-4; Va. Code Ann.
Brief                                                                                                                                   § 34-18; Va. Code Ann. § 34-20
description:
                                                                            87.27
                                                                           $________________         87.27
                                                                                                  ✔ $ ____________

                                                                                                   100% of fair market value, up to
Line from                                                                                             any applicable statutory limit
Schedule A/B:           17.2


 Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                         2
                                                                                                                                                        page ___ of __3
           Case 25-31438-BFK Doc 13 Filed 04/28/25 Entered 04/28/25 10:36:11 Desc Main
Debtor        James Bradford Hines Sr. Document
             _______________________________________________________
                                                                     Page 12 of Case
                                                                                 54 number (if known)_____________________________________
                                                                                                      25-31438
                First Name      Middle Name           Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                   Amount of the                       Specific laws that allow exemption
                                                                          Current value of the   exemption you claim
         on Schedule A/B that lists this property                         portion you own
                                                                         Copy the value from    Check only one box
                                                                          Schedule A/B           for each exemption
               Truist (joint w/ spouse, 50% interest) (Savings Account)                                                               Va. Code Ann. § 34-4; Va. Code Ann.
Brief                                                                                                                                 § 34-18; Va. Code Ann. § 34-20
description:
                                                                           10.83
                                                                          $________________         10.83
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:           17.3
               Truist (joint w/ spouse, 50% interest) (Savings Account)                                                               Va. Code Ann. § 34-4; Va. Code Ann.
Brief
description:                                                              $________________
                                                                           10.17                 
                                                                                                 ✔ $ ____________
                                                                                                     10.17                            § 34-18; Va. Code Ann. § 34-20
                                                                                                  100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:           17.4
               401k                                                                                                                   Va. Code Ann. § 34-34
Brief
description:                                                              $________________
                                                                           2,800.00              
                                                                                                 ✔ $ ____________
                                                                                                     2,800.00
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:        21
               Handheld tools                                                                                                         Va. Code Ann. § 34-26 (7)
Brief
description:
                                                                           4,785.00
                                                                          $________________         4,785.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:           40

Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:


 Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                      3
                                                                                                                                                      page ___ of __3
              Case 25-31438-BFK                             Doc 13     Filed 04/28/25 Entered 04/28/25 10:36:11                           Desc Main
                                                                      Document     Page 13 of 54
  Fill in this information to identify your case:

  Debtor 1           James Bradford Hines Sr.
                     First Name                               Last Name
                                         Middle Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name
                                                                   Last Name



  United States Bankruptcy Court for the: Eastern District of Virginia

  Case number 25-31438                                                                                                                             Check if this is
  (if know)                                                                                                                                        an amended
                                                                                                                                                   filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:       List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A           Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of          Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not           collateral that   portion If any
                                                                                                              deduct the value   supports this
                                                                                                              of collateral.     claim
 2.1                                                            Describe the property that secures the claim: $ 65,000.00        $ 49,240.00       $ 15,760.00


       Ally Financial
                                                              2021 Ford F250 - $49,240.00
       Creditor’s Name
       PO Box 8140
       Number                                                 As of the date you file, the claim is: Check all
                     Street
       Cockeysville MD             21030                      that apply.
       City                State   ZIP Code                      Contingent
       Who owes the debt? Check one.                             Unliquidated
         Debtor 1 only                                           Disputed
         Debtor 2 only
                                                              Nature of lien. Check all that apply.
         Debtor 1 and Debtor 2 only
                                                                 An agreement you made (such as mortgage or
         At least one of the debtors and another                 secured car loan)
                                                                 Statutory lien (such as tax lien, mechanic’s lien)
              Check if this claim relates to a
              community debt                                     Judgment lien from a lawsuit
                                                                 Other (including a right to offset)
       Date debt was incurred
                                                              Last 4 digits of account number




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                                  page 1 of 3
               James Bradford Hines Sr.
Debtor        Case   25-31438-BFK
               First Name         Middle Name           Doc 13
                                                Last Name           Filed 04/28/25 Entered 04/28/25Case
                                                                                                     10:36:11         Desc
                                                                                                        number(if known)     Main
                                                                                                                         25-31438
                                                                   Document     Page 14 of 54
 2.2                                                          Describe the property that secures the claim: $ 50,000.00    $ 34,000.00    $ 16,000.00


       Chase Auto                                           2020 Chevrolet 2500 High Country - $34,000.00
       Creditor’s Name
       PO Box 901076
       Number                                               As of the date you file, the claim is: Check all
                     Street
       Fort Worth TX             76101                      that apply.
       City            State     ZIP Code                      Contingent
       Who owes the debt? Check one.                           Unliquidated
         Debtor 1 only                                         Disputed
         Debtor 2 only
                                                            Nature of lien. Check all that apply.
         Debtor 1 and Debtor 2 only
                                                               An agreement you made (such as mortgage or
         At least one of the debtors and another               secured car loan)
                                                               Statutory lien (such as tax lien, mechanic’s lien)
              Check if this claim relates to a
              community debt                                   Judgment lien from a lawsuit
                                                               Other (including a right to offset)
       Date debt was incurred
                                                            Last 4 digits of account number

 2.3                                                          Describe the property that secures the claim: $ 27,041.00    $ 29,000.00    $ 0.00


       Fifth Third Bank                                     2020 Bentley Admiral Pontoon w/ trailer - $29,000.00
       Creditor’s Name
       PO Box 630412
       Number                                               As of the date you file, the claim is: Check all
                     Street
       Cincinnati OH            45263                       that apply.
       City           State     ZIP Code                       Contingent
       Who owes the debt? Check one.                           Unliquidated
         Debtor 1 only                                         Disputed
         Debtor 2 only
                                                            Nature of lien. Check all that apply.
         Debtor 1 and Debtor 2 only
                                                               An agreement you made (such as mortgage or
         At least one of the debtors and another               secured car loan)
                                                               Statutory lien (such as tax lien, mechanic’s lien)
              Check if this claim relates to a
              community debt                                   Judgment lien from a lawsuit
                                                               Other (including a right to offset)
       Date debt was incurred
                                                            Last 4 digits of account number

 2.4                                                          Describe the property that secures the claim: $ 205,383.00   $ 446,000.00   $ 0.00


       PNC Bank
                                                            259 N Point Dr - $446,000.00
       Creditor’s Name
       PO Box771021
       Number                                               As of the date you file, the claim is: Check all
                     Street
       Chicago IL              60677                        that apply.
       City          State     ZIP Code                        Contingent
       Who owes the debt? Check one.                           Unliquidated
         Debtor 1 only                                         Disputed
         Debtor 2 only
                                                            Nature of lien. Check all that apply.
         Debtor 1 and Debtor 2 only
                                                               An agreement you made (such as mortgage or
         At least one of the debtors and another               secured car loan)
                                                               Statutory lien (such as tax lien, mechanic’s lien)
              Check if this claim relates to a
              community debt                                   Judgment lien from a lawsuit
                                                               Other (including a right to offset)
       Date debt was incurred
                                                            Last 4 digits of account number 8602




Official Form 106D                                           Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 3
                James Bradford Hines Sr.
Debtor         Case   25-31438-BFK
                First Name        Middle Name           Doc 13
                                                Last Name           Filed 04/28/25 Entered 04/28/25Case
                                                                                                     10:36:11         Desc
                                                                                                        number(if known)     Main
                                                                                                                         25-31438
                                                                   Document     Page 15 of 54
 2.5                                                          Describe the property that secures the claim: $ 17,317.77            $ 5,400.00   $ 11,917.77


        Synchrony Bank                                      2020 Polaris XP4 1000 SXS - $5,400.00
        Creditor’s Name
        PO Box 669805
        Number                                              As of the date you file, the claim is: Check all
                     Street
        Dallas TX            75266                          that apply.
        City      State      ZIP Code                          Contingent
        Who owes the debt? Check one.                          Unliquidated
          Debtor 1 only                                        Disputed
          Debtor 2 only
                                                            Nature of lien. Check all that apply.
          Debtor 1 and Debtor 2 only
                                                               An agreement you made (such as mortgage or
          At least one of the debtors and another              secured car loan)
                                                               Statutory lien (such as tax lien, mechanic’s lien)
               Check if this claim relates to a
               community debt                                  Judgment lien from a lawsuit
                                                               Other (including a right to offset)
        Date debt was incurred
                                                            Last 4 digits of account number

       Add the dollar value of your entries in Column A on this page. Write that number here:                       $ 364,741.77


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                           Schedule D: Creditors Who Have Claims Secured by Property                                page 3 of 3
             Case 25-31438-BFK                            Doc 13      Filed 04/28/25 Entered 04/28/25 10:36:11                              Desc Main
                                                                     Document     Page 16 of 54
   Fill in this information to identify your case:

                   James Bradford Hines Sr.
   Debtor 1
                   First Name                                 Last Name
                                           Middle Name

   Debtor 2
   (Spouse, if filing) First Name               Middle Name
                                                                   Last Name



   United States Bankruptcy Court for the: Eastern District of Virginia

   Case number 25-31438                                                                                                                              Check if this is
   (if know)                                                                                                                                         an amended
                                                                                                                                                     filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.

   Part 2:      List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
         Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

  4.1                                                                     Last 4 digits of account number 6376
         ADP                                                                                                                                                 $ 506.00
         Nonpriority Creditor's Name
                                                                          When was the debt incurred?

         One ADP Blvd.                                                    As of the date you file, the claim is: Check all that apply.
         Number                                                              Contingent
                       Street
         Roseland NJ            07068                                        Unliquidated
         City           State   ZIP Code                                     Disputed
         Who owes the debt? Check one.
             Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
             Debtor 2 only                                                  Student loans
             Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                             that you did not report as priority claims
             At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community                      debts
             debt                                                           Other. Specify Business debt
         Is the claim subject to offset?
             No
             Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 1 of 10
              James Bradford Hines Sr.
 Debtor      Case   25-31438-BFK
                 First Name            Middle Name           Doc 13
                                                     Last Name         Filed 04/28/25 Entered 04/28/25Case
                                                                                                        10:36:11         Desc
                                                                                                           number(if known)     Main
                                                                                                                            25-31438
                                                                      Document     Page 17 of 54
  4.2                                                                  Last 4 digits of account number 5248
          Ahern                                                                                                                          $ 47,590.39
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          PO Box 271390                                                As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Las Vegas NV                 89127                              Unliquidated
          City                State    ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify Business debt
          Is the claim subject to offset?
              No
              Yes

  4.3                                                                  Last 4 digits of account number 3004
          Capital One                                                                                                                      $ 771.72
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          PO Box 71087                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Charlotte NC                28278                               Unliquidated
          City           State        ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.4                                                                  Last 4 digits of account number
          CFG Merchant Solutions                                                                                                         $ Unknown
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          180 Maiden Ln, 15th Fl                                       As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          New York NY                 10038                               Unliquidated
          City            State       ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify MCA/Business debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                        page 2 of 10
              James Bradford Hines Sr.
 Debtor      Case   25-31438-BFK
                 First Name            Middle Name           Doc 13
                                                     Last Name         Filed 04/28/25 Entered 04/28/25Case
                                                                                                        10:36:11         Desc
                                                                                                           number(if known)     Main
                                                                                                                            25-31438
                                                                      Document     Page 18 of 54
  4.5                                                                  Last 4 digits of account number 6A4E
          Credibly                                                                                                                        $ 2,914.94
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          25200 Telegraph Rd, Suite 350                                As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Southfield MI                48033                              Unliquidated
          City            State        ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify Business loan guaranty
          Is the claim subject to offset?
              No
              Yes

  4.6                                                                  Last 4 digits of account number
          Delta Funding                                                                                                                  $ 10,800.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          6272 Saginaw Road #1118                                      As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Grand Blanc MI                 48439                            Unliquidated
          City                 State     ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify MCA/Business debt
          Is the claim subject to offset?
              No
              Yes

  4.7                                                                  Last 4 digits of account number 7997
          Duke Medical                                                                                                                    $ 4,657.95
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          PO Box 110566                                                As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Durham NC               27709                                   Unliquidated
          City         State      ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                        page 3 of 10
              James Bradford Hines Sr.
 Debtor      Case   25-31438-BFK
                 First Name             Middle Name           Doc 13
                                                      Last Name         Filed 04/28/25 Entered 04/28/25Case
                                                                                                         10:36:11         Desc
                                                                                                            number(if known)     Main
                                                                                                                             25-31438
                                                                       Document     Page 19 of 54
  4.8                                                                   Last 4 digits of account number
          Freeman Dunn Lucy & Coates                                                                                                      $ 1,223.76
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1045 Cottontown Rd                                            As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Lynchburg VA                  24503                              Unliquidated
          City                State     ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Legal (business)
          Is the claim subject to offset?
              No
              Yes

  4.9                                                                   Last 4 digits of account number 0113
          Home Depot Credit                                                                                                               $ 6,155.60
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          PO Box 70614                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Philadelphia PA                 19176                            Unliquidated
          City                  State     ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.10 Maria Parham Hospital                                            Last 4 digits of account number
                                                                                                                                          $ 8,500.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          566 Ruin Creek Road                                           As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          PO Box 59                                                        Unliquidated
                                                                           Disputed
          Henderson NC                  27536
                                                                        Type of NONPRIORITY unsecured claim:
          City                State     ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify Medical Services
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                       page 4 of 10
              James Bradford Hines Sr.
 Debtor      Case   25-31438-BFK
                 First Name           Middle Name           Doc 13
                                                    Last Name         Filed 04/28/25 Entered 04/28/25Case
                                                                                                       10:36:11         Desc
                                                                                                          number(if known)     Main
                                                                                                                           25-31438
                                                                     Document     Page 20 of 54
  4.11 Matthew & Sharon Hoffman                                       Last 4 digits of account number
                                                                                                                                        $ Unknown
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          c/o James T Duckworth III, Esq.                             As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          106 Main St, PO Box 428                                        Unliquidated
                                                                         Disputed
          Oxford NC              27565
                                                                      Type of NONPRIORITY unsecured claim:
          City       State       ZIP Code
          Who owes the debt? Check one.                                 Student loans
              Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                 debts
              At least one of the debtors and another                   Other. Specify Crossclaim
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.12 PNC Bank                                                       Last 4 digits of account number 7888
                                                                                                                                        $ 10,269.61
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          PO Box 71355                                                As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          Philadelphia PA               19176                            Unliquidated
          City                State     ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.13 Prosperum Capital Partners                                     Last 4 digits of account number
                                                                                                                                        $ 37,254.70
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          8 W 36th St                                                 As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          New York NY                 10018                              Unliquidated
          City            State       ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Business Debt Guaranty
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                        page 5 of 10
              James Bradford Hines Sr.
 Debtor      Case   25-31438-BFK
                 First Name          Middle Name            Doc 13
                                                    Last Name         Filed 04/28/25 Entered 04/28/25Case
                                                                                                       10:36:11         Desc
                                                                                                          number(if known)     Main
                                                                                                                           25-31438
                                                                     Document     Page 21 of 54
  4.14 Sentara Halifax Regional Hospital                              Last 4 digits of account number
                                                                                                                                           $ 634.07
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 11/16/2023

          2204 Wilborn Ave.                                           As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          South Boston VA                24592                           Unliquidated
          City                   State   ZIP Code                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes

  4.15 SMAK Holdings                                                  Last 4 digits of account number
                                                                                                                                        $ 161,200.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          3214 Foxvale Drive                                          As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          Oakton VA              22124                                   Unliquidated
          City        State      ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Business debt
          Is the claim subject to offset?
              No
              Yes

  4.16 Synchrony Bank                                                 Last 4 digits of account number 1965
                                                                                                                                         $ 15,230.10
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          PO Box 669824                                               As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          Dallas TX           75266                                      Unliquidated
          City      State     ZIP Code                                   Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                         page 6 of 10
              James Bradford Hines Sr.
 Debtor      Case   25-31438-BFK
                 First Name        Middle Name               Doc 13
                                                     Last Name         Filed 04/28/25 Entered 04/28/25Case
                                                                                                        10:36:11         Desc
                                                                                                           number(if known)     Main
                                                                                                                            25-31438
                                                                      Document     Page 22 of 54
  4.17 Talbert Building Supply                                         Last 4 digits of account number
                                                                                                                                         $ 264,993.00
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          3101 Hillsborough Rd                                         As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Durham NC              27705                                    Unliquidated
          City         State     ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify Business debt
          Is the claim subject to offset?
              No
              Yes

  4.18 The LCF Group                                                   Last 4 digits of account number
                                                                                                                                           $ 3,950.86
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          3000 Marcus Ave, Ste. 2W15                                   As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          New Hyde Park NY                11042                           Unliquidated
          City                   State    ZIP Code                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                              Student loans
              Debtor 1 and Debtor 2 only                                  Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              At least one of the debtors and another                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                       Other. Specify Business debt
          Is the claim subject to offset?
              No
              Yes

  4.19 United Rentals                                                  Last 4 digits of account number
                                                                                                                                          $ 20,942.04
          Nonpriority Creditor's Name
                                                                       When was the debt incurred?

          100 First Stamford Place                                     As of the date you file, the claim is: Check all that apply.
          Number                                                          Contingent
                        Street
          Ste 700                                                         Unliquidated
                                                                          Disputed
          Stamford CT             06902
                                                                       Type of NONPRIORITY unsecured claim:
          City           State    ZIP Code
          Who owes the debt? Check one.                                  Student loans
              Debtor 1 only                                               Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
              Debtor 2 only
                                                                          Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                  debts
              At least one of the debtors and another                    Other. Specify Business debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                         page 7 of 10
                James Bradford Hines Sr.
 Debtor        Case   25-31438-BFK
                 First Name             Middle Name           Doc 13
                                                      Last Name         Filed 04/28/25 Entered 04/28/25Case
                                                                                                         10:36:11         Desc
                                                                                                            number(if known)     Main
                                                                                                                             25-31438
                                                                       Document     Page 23 of 54
  4.20 Van Sickle Law, PLLC                                             Last 4 digits of account number
                                                                                                                                                                      $ 6,135.72
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          1135 Kildaire Farm Rd # 200                                   As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Cary NC               27511                                      Unliquidated
          City      State       ZIP Code                                   Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Legal/Business
          Is the claim subject to offset?
              No
              Yes

  4.21 Vulcan Materials                                                 Last 4 digits of account number 2595
                                                                                                                                                                      $ 5,046.77
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          PO Box 75219                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Charlotte NC                28275                                Unliquidated
          City           State        ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Business debt
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
     collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
     creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


        David Fogel esq                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.13 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
        1225 Franklin Avenue Suite 201
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                     Street
        Garden City NY                  11530                                      Claims
        City                  State     ZIP Code                                   Last 4 digits of account number


        Delta Management                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.5    of (Check one):         Part 1: Creditors with Priority Unsecured Claims
        2499 Rice St Suite 245
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                     Street
        Saint Paul MN                 55113                                        Claims
        City            State         ZIP Code                                     Last 4 digits of account number 5006


        Law Offices of Steven Zakharyayev, PLLC                                    On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.4    of (Check one):         Part 1: Creditors with Priority Unsecured Claims
        Empire Recovery Solutions, LLC
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                     Street
        10 W 37th St, RM 602                                                       Claims
                                                                                   Last 4 digits of account number
        New York NY                   10018
        City           State          ZIP Code




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 8 of 10
                James Bradford Hines Sr.
 Debtor        Case   25-31438-BFK
                First Name         Middle Name               Doc 13
                                                     Last Name         Filed 04/28/25 Entered 04/28/25Case
                                                                                                        10:36:11         Desc
                                                                                                           number(if known)     Main
                                                                                                                            25-31438
                                                                      Document     Page 24 of 54
                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
        Lyon Collection Services
        Creditor’s Name                                                         Line 4.1     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        7924 West Sahara Avenue                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Number
                    Street                                                      Claims
        Las Vegas NV              89117
                                                                                Last 4 digits of account number
        City             State    ZIP Code

        Mark A Kirkorsky, PC                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.2     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        1119 W Southern Avenue Suite 200
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                    Street
        Mesa AZ              85210                                              Claims
        City     State       ZIP Code                                           Last 4 digits of account number


        Receivables Outsourcing Inc                                             On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.10 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 549
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                    Street
        Lutherville Timonium MD                  21094                          Claims
        City                           State     ZIP Code                       Last 4 digits of account number


        Revco Solutions                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.7     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 163279
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                    Street
        Columbus OH               43216                                         Claims
        City           State      ZIP Code                                      Last 4 digits of account number


        Robert Hawthorne Jr Esq                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.15 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 219
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                    Street
        115 S Main St                                                           Claims
                                                                                Last 4 digits of account number
        Blackstone VA             23824
        City             State    ZIP Code

        Vericore                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.21 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        10115 Kincey Avenue
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                    Street
        Ste 100                                                                 Claims
                                                                                Last 4 digits of account number
        Huntersville NC            28078
        City              State    ZIP Code

        Womble Bond Dickinson/R Prosser                                         On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 4.17 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        555 Fayetteville Street
        Number                                                                                                        Part 2: Creditors with Nonpriority Unsecured
                    Street
        Ste 1100                                                                Claims
                                                                                Last 4 digits of account number
        Raleigh NC             27601
        City       State       ZIP Code

   Part 4:       Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 9 of 10
              James Bradford Hines Sr.
 Debtor      Case   25-31438-BFK
               First Name     Middle Name           Doc 13
                                            Last Name          Filed 04/28/25 Entered 04/28/25Case
                                                                                                10:36:11         Desc
                                                                                                   number(if known)     Main
                                                                                                                    25-31438
                                                              Document     Page 25 of 54

                                                                                                           Total claim

   Total claims        6a. Domestic support obligations                                          6a.   $ 0.00
   from Part 1
                       6b. Taxes and certain other debts you owe the                             6b.   $ 0.00
                       government
                       6c. Claims for death or personal injury while you were                    6c.   $ 0.00
                           intoxicated
                       6d. Other. Add all other priority unsecured claims. Write that            6d.   $ 0.00
                           amount here.
                       6e. Total. Add lines 6a through 6d.                                       6e.
                                                                                                        $ 0.00



                                                                                                           Total claim

   Total claims        6f. Student loans                                                         6f.   $ 0.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                  6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                   6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that         6i.   $ 608,777.23
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                       6j.
                                                                                                        $ 608,777.23




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims             page 10 of 10
            Case 25-31438-BFK                 Doc 13        Filed 04/28/25 Entered 04/28/25 10:36:11                     Desc Main
                                                           Document     Page 26 of 54
  Fill in this information to identify your case:

  Debtor 1
                     James Bradford Hines Sr.
                      First Name                            Last Name
                                     Middle Name

  Debtor 2
  (Spouse, if filing) First Name          Middle Name
                                                                 Last Name



  United States Bankruptcy Court for the: Eastern District of Virginia

  Case number 25-31438                                                                                                          Check if this is
  (if know)                                                                                                                     an amended
                                                                                                                                filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).

 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is
    for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
    executory contracts and unexpired leases.


       Person or company with whom you have the contract or lease State what the contract or lease is for




Official Form 106G                                      Schedule G: Executory Contracts and Unexpired Leases                             page 1 of 1
               Case 25-31438-BFK                    Doc 13     Filed 04/28/25 Entered 04/28/25 10:36:11                              Desc Main
                                                              Document     Page 27 of 54
Fill in this information to identify your case:

Debtor 1
                 James Bradford Hines Sr.
                  First Name                           Last Name
                                 Middle Name

Debtor 2
(Spouse, if filing) First Name        Middle Name
                                                            Last Name



United States Bankruptcy Court for the: Eastern District of Virginia

Case number 25-31438                                                                                                                         Check if this is
(if know)                                                                                                                                    an amended
                                                                                                                                             filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
    California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
    line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
    Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
    out Column 2.


       Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
3.1     H&S Construction & Design LLC                                                               Schedule D, line
        Name                                                                                        Schedule E/F, line 4.11
        259 N Point Dr                                                                              Schedule G, line
        Street
        Clarksville                                                VA       23927
        City                                                       State    ZIP Code

3.2     H&S Construction & Design LLC                                                               Schedule D, line
        Name                                                                                        Schedule E/F, line 4.5
        259 N Point Dr                                                                              Schedule G, line
        Street
        Clarksville                                                VA       23927
        City                                                       State    ZIP Code

3.3     H&S Construction & Design LLC                                                               Schedule D, line
        Name                                                                                        Schedule E/F, line 4.1
        259 N Point Dr                                                                              Schedule G, line
        Street
        Clarksville                                                VA       23927
        City                                                       State    ZIP Code

3.4     H&S Construction & Design LLC                                                               Schedule D, line
        Name                                                                                        Schedule E/F, line 4.9
        259 N Point Dr                                                                              Schedule G, line
        Street
        Clarksville                                                VA       23927
        City                                                       State    ZIP Code


Official Form 106H                                                         Schedule H: Your Codebtors                                               page 1 of 3
                 James Bradford Hines Sr.
Debtor          Case   25-31438-BFK
                 First Name   Middle Name           Doc 13
                                            Last Name         Filed 04/28/25 Entered 04/28/25Case
                                                                                               10:36:11         Desc
                                                                                                  number(if known)     Main
                                                                                                                   25-31438
                                                             Document     Page 28 of 54
3.5      H&S Construction & Design LLC                                                         Schedule D, line
         Name                                                                                  Schedule E/F, line 4.2
         259 N Point Dr                                                                        Schedule G, line
         Street
         Clarksville                                          VA       23927
         City                                                 State    ZIP Code
3.6      H&S Construction & Design LLC                                                         Schedule D, line
         Name                                                                                  Schedule E/F, line 4.15
         259 N Point Dr                                                                        Schedule G, line
         Street
         Clarksville                                          VA       23927
         City                                                 State    ZIP Code

3.7      H&S Construction & Design LLC                                                         Schedule D, line
         Name                                                                                  Schedule E/F, line 4.4
         259 N Point Dr                                                                        Schedule G, line
         Street
         Clarksville                                          VA       23927
         City                                                 State    ZIP Code
3.8      H&S Construction & Design LLC                                                         Schedule D, line
         Name                                                                                  Schedule E/F, line 4.6
         259 N Point Dr                                                                        Schedule G, line
         Street
         Clarksville                                          VA       23927
         City                                                 State    ZIP Code
3.9      H&S Construction & Design LLC                                                         Schedule D, line
         Name                                                                                  Schedule E/F, line 4.20
         259 N Point Dr                                                                        Schedule G, line
         Street
         Clarksville                                          VA       23927
         City                                                 State    ZIP Code

3.10     H&S Construction & Design LLC                                                         Schedule D, line 2.2
         Name                                                                                  Schedule E/F, line
         259 N Point Dr                                                                        Schedule G, line
         Street
         Clarksville                                          VA       23927
         City                                                 State    ZIP Code

3.11     H&S Construction & Design LLC                                                         Schedule D, line
         Name                                                                                  Schedule E/F, line 4.8
         259 N Point Dr                                                                        Schedule G, line
         Street
         Clarksville                                          VA       23927
         City                                                 State    ZIP Code

3.12     H&S Construction & Design LLC                                                         Schedule D, line
         Name                                                                                  Schedule E/F, line 4.17
         259 N Point Dr                                                                        Schedule G, line
         Street
         Clarksville                                          VA       23927
         City                                                 State    ZIP Code

3.13     H&S Construction & Design LLC                                                         Schedule D, line
         Name                                                                                  Schedule E/F, line 4.21
         259 N Point Dr                                                                        Schedule G, line
         Street
         Clarksville                                          VA       23927
         City                                                 State    ZIP Code




Official Form 106H                                                    Schedule H: Your Codebtors                              page 2 of 3
                 James Bradford Hines Sr.
Debtor          Case   25-31438-BFK
                 First Name   Middle Name           Doc 13
                                            Last Name         Filed 04/28/25 Entered 04/28/25Case
                                                                                               10:36:11         Desc
                                                                                                  number(if known)     Main
                                                                                                                   25-31438
                                                             Document     Page 29 of 54
3.14     H&S Construction & Design LLC                                                         Schedule D, line
         Name                                                                                  Schedule E/F, line 4.13
         259 N Point Dr                                                                        Schedule G, line
         Street
         Clarksville                                          VA       23927
         City                                                 State    ZIP Code
3.15     H&S Construction & Design LLC                                                         Schedule D, line
         Name                                                                                  Schedule E/F, line 4.19
         259 N Point Dr                                                                        Schedule G, line
         Street
         Clarksville                                          VA       23927
         City                                                 State    ZIP Code

3.16     Cynthia Hines                                                                         Schedule D, line 2.1
         Name                                                                                  Schedule E/F, line
         259 N Point Dr                                                                        Schedule G, line
         Street
         Clarksville                                          VA       23927
         City                                                 State    ZIP Code




Official Form 106H                                                    Schedule H: Your Codebtors                              page 3 of 3
           Case 25-31438-BFK                    Doc 13        Filed 04/28/25 Entered 04/28/25 10:36:11                              Desc Main
                                                             Document     Page 30 of 54
 Fill in this information to identify your case:

                      James Bradford Hines Sr.
 Debtor 1           ____________________________________________________________________
                     First Name              Middle Name                Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                Last Name


 United States Bankruptcy Court for the: ______________________
                                          Eastern District of Virginia District
                                                                                     tate)
 Case number            25-31438
                     ___________________________________________                                         Check if this is:
  (If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter 13
                                                                                                            income as of the following date:
                                                                                                            ________________
Official Form 106I                                                                                          MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                              Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                            ✔ Employed
    information about additional          Employment status                                                             Employed
    employers.                                                              Not employed                               
                                                                                                                        ✔ Not employed
    Include part-time, seasonal, or
    self-employed work.                                                    Construction supervisor
                                          Occupation                     __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                           Lead & Gain Workforce
                                          Employer’s name
                                                                           Solutions Inc
                                                                         __________________________________            __________________________________


                                          Employer’s address                657 Revere Rd
                                                                         _______________________________________     ________________________________________
                                                                          Number Street                               Number    Street

                                                                         _______________________________________     ________________________________________

                                                                         _______________________________________     ________________________________________

                                                                            Merion Station, PA 19066
                                                                         _______________________________________     ________________________________________
                                                                          City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________
                                                                   3 months                                            ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                       non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.             2.      23,424.65                    0.00
                                                                                                   $___________          $____________

 3. Estimate and list monthly overtime pay.                                                  3.   + $___________
                                                                                                            0.00      + $____________
                                                                                                                                 0.00

 4. Calculate gross income. Add line 2 + line 3.                                             4.      23,424.65
                                                                                                   $__________                    0.00
                                                                                                                         $____________




Official Form 106I                                                   Schedule I: Your Income                                                    page 1
           Case 25-31438-BFK Doc 13
             James Bradford Hines Sr.
                                                                         Filed 04/28/25 Entered 04/28/25 10:36:11 Desc Main
Debtor 1         _______________________________________________________                                               25-31438
                 First Name         Middle Name               Last Name
                                                                        Document     Page 31 of Case
                                                                                                 54 number (if known)_____________________________________
                                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                                            non-filing spouse

   Copy line 4 here ............................................................................................  4.     23,424.65
                                                                                                                        $___________                  0.00
                                                                                                                                              $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.       6,023.85
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.         936.95
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5d. Required repayments of retirement fund loans                                                            5d.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5e. Insurance                                                                                               5e.       1,195.52
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5f. Domestic support obligations                                                                            5f.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
                                                                                                                               0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h. + $____________
                                                                                                                              0.00          + $_____________
                                                                                                                                                       0.00
    _____________________________________________________________                                                       $____________         $____________
    _____________________________________________________________                                                       $____________         $____________
    _____________________________________________________________                                                       $____________         $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.       8,156.33
                                                                                                                        $____________                  0.00
                                                                                                                                              $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      15,268.33
                                                                                                                        $____________                  0.00
                                                                                                                                              $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                   0.00                    0.00
                                                                                                                        $____________         $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00                    0.00
                                                                                                                        $____________         $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8e. Social Security                                                                                         8e.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                      0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

     8g. Pension or retirement income                                                                            8g.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h. + $____________
                                                                                                                              0.00          + $_____________
                                                                                                                                                       0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                          15,268.33
                                                                                                                        $___________    +             0.00
                                                                                                                                              $_____________      = $_____________
                                                                                                                                                                      15,268.33

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                      15,268.33
                                                                                                                                                                    $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                      12.
                                                                                                                                                                    Combined
                                                                                                                                                                    monthly income
13. Do you expect an increase or decrease within the year after you file this form?
       No.
      
      ✔ Yes. Explain:

  Official Form 106I                                                               Schedule I: Your Income                                                            page 2
            Case 25-31438-BFK                   Doc 13        Filed 04/28/25 Entered 04/28/25 10:36:11                                        Desc Main
                                                             Document     Page 32 of 54
  Fill in this information to identify your case:

                     James Bradford Hines Sr.
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          Eastern District of Virginia
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________       District of __________                    expenses as of the following date:
                                                                                     (State)
                       25-31438                                                                                  ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                 ✔ No
                                                                                         Dependent’s relationship to              Dependent’s    Does dependent live
   Do not list Debtor 1 and                 Yes. Fill out this information for           Debtor 1 or Debtor 2                     age            with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’
                                                                                                                                                  No
                                                                                          _________________________                ________
   names.                                                                                                                                         Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
3. Do your expenses include
   expenses of people other than
                                            No
   yourself and your dependents?            Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 1,516.63
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                       0.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                   300.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      5.50
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                               page 1
              Case 25-31438-BFK                  Doc 13           Filed 04/28/25 Entered 04/28/25 10:36:11                      Desc Main
                                                                 Document     Page 33 of 54
                    James Bradford Hines Sr.                                                                          25-31438
 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                         0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                      425.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                      125.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                      486.00
        6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                         0.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                    1,800.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                         0.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                      120.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                      120.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                      275.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                    1,050.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                      100.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                       50.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.                    0.00
                                                                                                                        $_____________________
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                         0.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                      824.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                         0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                  Personal property tax
        Specify: ________________________________________________________                                        16.
                                                                                                                                      250.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                    1,301.83
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                    1,192.43
                              Student loans (wife), Polaris and boat
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                    2,292.00
        17d. Other. Specify:_______________________________________________                                      17d.                    0.00
                                                                                                                        $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.                    0.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
             Case 25-31438-BFK                 Doc 13           Filed 04/28/25 Entered 04/28/25 10:36:11                          Desc Main
                                                               Document     Page 34 of 54
                   James Bradford Hines Sr.                                                                             25-31438
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Tobacco
                                                                                                                                        410.00
                                                                                                                   21.   +$_____________________
Pet care
______________________________________________________________________________________                                                  180.00
                                                                                                                         +$_____________________
Hotel for work                                                                                                                         1,600.00
                                                                                                                         +$_____________________
______________________________________________________________________________________

22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                14,423.39
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                14,423.39
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                      15,268.33
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                14,423.39
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                    844.94
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
       Yes.        Explain here:




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
               Case 25-31438-BFK                   Doc 13    Filed 04/28/25 Entered 04/28/25 10:36:11                             Desc Main
                                                            Document     Page 35 of 54
Fill in this information to identify your case:

Debtor 1           James Bradford Hines Sr.
                  __________________________________________________________________
                    First Name              Middle Name            Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name            Last Name


                                        ______________________
United States Bankruptcy Court for the:Eastern District of Virginia District of __________
                                                                               (State)
Case number         25-31438
                    ___________________________________________
(If known)
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                    12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔ No

        Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                              Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ James Bradford Hines Sr.
          ______________________________________________           _____________________________
         Signature of Debtor 1                                        Signature of Debtor 2


              04/28/2025
         Date _________________                                       Date _________________
                MM /    DD       /   YYYY                                      MM / DD /   YYYY




  Official Form 106Dec                                    Declaration About an Individual Debtor’s Schedules
           Case 25-31438-BFK                    Doc 13        Filed 04/28/25 Entered 04/28/25 10:36:11                               Desc Main
                                                             Document     Page 36 of 54
 Fill in this information to identify your case:

 Debtor 1          James Bradford Hines Sr.
                   __________________________________________________________________
                     First Name              Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: Eastern
                                          ______________________
                                                 District of Virginia District of ______________
                                                                               (State)
 Case number         ___________________________________________
                       25-31438
  (If known)                                                                                                                               Check if this is an
                                                                                                                                             amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                           4/25

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


      
      ✔ Married

       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     ✔ No

      Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
               Debtor 1:                                           Dates Debtor 1        Debtor 2:                                             Dates Debtor 2
                                                                   lived there                                                                 lived there

                                                                                          Same as Debtor 1                                    Same as Debtor 1
               __________________________________________         From     ________         ___________________________________________          From ________
                Number    Street                                                            Number Street
                                                                  To       __________                                                            To      ________
               __________________________________________                                   ___________________________________________

               __________________________________________                                   ___________________________________________
               City                     State ZIP Code                                      City                     State ZIP Code


                                                                                          Same as Debtor 1                                   Same as Debtor 1
               __________________________________________         From     ________         ___________________________________________          From ________
                Number    Street                                                            Number Street
                                                                  To       ________                                                              To      ________
               __________________________________________                                   ___________________________________________

               __________________________________________                                   ___________________________________________
               City                     State ZIP Code                                      City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     ✔ No

      Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 1
           Case 25-31438-BFK                      Doc 13          Filed 04/28/25 Entered 04/28/25 10:36:11                                   Desc Main
                                                                 Document     Page 37 of 54
Debtor 1        James Bradford Hines Sr.
                _______________________________________________________                                                           25-31438
                                                                                                           Case number (if known)_____________________________________
                First Name   Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      No
     
     ✔ Yes. Fill in the details.


                                                             Debtor 1                                               Debtor 2

                                                             Sources of income             Gross income             Sources of income           Gross income
                                                             Check all that apply.         (before deductions and   Check all that apply.       (before deductions and
                                                                                           exclusions)                                          exclusions)


           From January 1 of current year until
                                                             
                                                             ✔ Wages, commissions,                                   Wages, commissions,
                                                                 bonuses, tips             $________________
                                                                                            70,274.00                   bonuses, tips           $________________
           the date you filed for bankruptcy:
                                                              Operating a business                                  Operating a business

           For last calendar year:
                                                             
                                                             ✔ Wages, commissions,                                   Wages, commissions,
                                                                 bonuses, tips             $________________
                                                                                            234,628.00                  bonuses, tips           $________________
           (January 1 to December 31, _________)
                                      2024                    Operating a business                                  Operating a business
                                           YYYY



           For the calendar year before that:                
                                                             ✔ Wages, commissions,                                   Wages, commissions,
                                                                 bonuses, tips                                          bonuses, tips
                                                                                           $________________
                                                                                            164,500.00                                          $________________
           (January 1 to December 31, _________)
                                      2023                   
                                                             ✔ Operating a business                                  Operating a business
                                           YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      No
     
     ✔ Yes. Fill in the details.


                                                  Debtor 1                                                           Debtor 2

                                                  Sources of income              Gross income from                   Sources of income          Gross income from
                                                  Describe below.                each source                         Describe below.            each source
                                                                                 (before deductions and                                         (before deductions and
                                                                                 exclusions)                                                    exclusions)


                                     _________________________
                                     IRS interest                                $________________
                                                                                  2,135.00                  _________________________          $________________
 From January 1 of current
 year until the date you             _________________________                   $________________          _________________________          $________________
 filed for bankruptcy:
                                     _________________________                   $_________________         _________________________          $_________________


                                      _________________________ $________________                            _________________________         $________________
For last calendar year:
                                      _________________________ $________________                            _________________________         $________________
(January 1 to
                                      _________________________ $_________________                           _________________________         $_________________
December 31, _________)


For the calendar year                 _________________________ $________________                            _________________________         $________________
before that:                          _________________________ $________________                            _________________________         $________________
(January 1 to                         _________________________ $_________________                           _________________________         $_________________
December 31, _________)




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
           Case 25-31438-BFK                           Doc 13        Filed 04/28/25 Entered 04/28/25 10:36:11                         Desc Main
                                                                    Document     Page 38 of 54
Debtor 1     James Bradford Hines Sr.
             _______________________________________________________                                                       25-31438
                                                                                                    Case number (if known)_____________________________________
             First Name          Middle Name            Last Name




 Pa rt 3 :   List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

     
     ✔ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as

             “incurred by an individual primarily for a personal, family, or household purpose.”
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $8,575* or more?

             
             ✔ No. Go to line 7.


              Yes. List below each creditor to whom you paid a total of $8,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
             * Subject to adjustment on 4/01/28 and every 3 years after that for cases filed on or after the date of adjustment.

      Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              No. Go to line 7.
              Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and
                            alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                        Dates of     Total amount paid        Amount you still owe       Was this payment for…
                                                                        payment


                     ____________________________________               _________    $_________________ $__________________               Mortgage
                     Creditor’s Name
                                                                                                                                          Car
                     ____________________________________               _________
                     Number     Street                                                                                                    Credit card
                                                                                                                                          Loan repayment
                     ____________________________________               _________
                                                                                                                                          Suppliers or vendors
                     ____________________________________
                     City                      State        ZIP Code
                                                                                                                                          Other ______________


                     ____________________________________               _________    $_________________ $__________________               Mortgage
                     Creditor’s Name
                                                                                                                                          Car
                     ____________________________________               _________                                                         Credit card
                     Number     Street
                                                                                                                                          Loan repayment
                     ____________________________________               _________
                                                                                                                                          Suppliers or vendors
                     ____________________________________                                                                                 Other ______________
                     City                      State        ZIP Code




                     ____________________________________               _________    $_________________ $__________________               Mortgage
                     Creditor’s Name
                                                                                                                                          Car
                     ____________________________________               _________                                                         Credit card
                     Number     Street
                                                                                                                                          Loan repayment
                     ____________________________________               _________
                                                                                                                                          Suppliers or vendors
                     ____________________________________                                                                                 Other _______________
                     City                      State        ZIP Code




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
           Case 25-31438-BFK                            Doc 13        Filed 04/28/25 Entered 04/28/25 10:36:11                            Desc Main
                                                                     Document     Page 39 of 54
Debtor 1           James Bradford Hines Sr.
                  _______________________________________________________                            Case number (if known)25-31438
                                                                                                                           _____________________________________
                  First Name      Middle Name            Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     ✔ No

      Yes. List all payments to an insider.
                                                                          Dates of   Total amount      Amount you still   Reason for this payment
                                                                          payment    paid              owe


           ____________________________________________                 _________    $____________ $____________
           Insider’s Name


           ____________________________________________                 _________
           Number        Street


           ____________________________________________                 _________

           ____________________________________________
           City                                 State    ZIP Code



           ____________________________________________                 _________    $____________ $____________
           Insider’s Name

           ____________________________________________                 _________
           Number        Street


           ____________________________________________                 _________

           ____________________________________________
           City                                 State    ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     ✔ No

      Yes. List all payments that benefited an insider.
                                                                         Dates of     Total amount     Amount you still   Reason for this payment
                                                                         payment      paid             owe
                                                                                                                          Include creditor’s name

           ____________________________________________                 _________    $____________ $____________
           Insider’s Name


           ____________________________________________                 _________
           Number        Street


           ____________________________________________                 _________

           ____________________________________________
           City                                 State    ZIP Code



                                                                                     $____________ $____________
           ____________________________________________                 _________
           Insider’s Name


           ____________________________________________                 _________
           Number        Street


           ____________________________________________                 _________

           ____________________________________________
           City                                 State    ZIP Code




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
           Case 25-31438-BFK                                  Doc 13         Filed 04/28/25 Entered 04/28/25 10:36:11                              Desc Main
                                                                            Document     Page 40 of 54
Debtor 1          James   Bradford Hines Sr.
                  _______________________________________________________                                                               25-31438
                                                                                                                 Case number (if known)_____________________________________
                  First Name            Middle Name             Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

      No
     
     ✔ Yes. Fill in the details.

                                                                       Nature of the case                  Court or agency                                 Status of the case
                  Talbert Building Supply v H&S                      Collection
    Case title:                                                                                            Durham County Superior Court
                  Construction                                                                            ________________________________________
                                                                                                          Court Name
                                                                                                                                                          
                                                                                                                                                          ✔ Pending

                                                                                                                                                           On appeal
                                                                                                          510 S. Dillard St.
                                                                                                          ________________________________________
                                                                                                          Number    Street                                 Concluded
                                                                                                           Durham            NC     27701
                                                                                                          ________________________________________
                                                                                                          City                  State   ZIP Code
    Case number 23-CVS-2963
                ________________________
                   Talbert Building Supply v Yellman                 Collection; Date filed: 09/13/2023
                                                                                                           Mecklenburg Circuit Court
                                                                                                          ________________________________________
                                                                                                          Court Name
                                                                                                                                                          
                                                                                                                                                          ✔ Pending
    Case title:
                                                                                                                                                           On appeal
                                                                                                          PO Box 530
                                                                                                          ________________________________________
                                                                                                          Number    Street                                 Concluded
                                                                                                           Boydton           VA     23917
                                                                                                          ________________________________________
                          CL23-1059                                                                       City                  State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     ✔ No. Go to line 11.

      Yes. Fill in the information below.
                                                                                  Describe the property                                  Date           Value of the property



                   _________________________________________                                                                             __________      $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                             Explain what happened

                                                                                   Property was repossessed.
                   _________________________________________
                                                                                   Property was foreclosed.
                                                                                   Property was garnished.
                   _________________________________________
                   City                               State    ZIP Code            Property was attached, seized, or levied.
                                                                                  Describe the property                                  Date            Value of the property



                                                                                                                                        __________       $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                  Explain what happened

                   _________________________________________                       Property was repossessed.
                                                                                   Property was foreclosed.
                   _________________________________________                       Property was garnished.
                   City                               State    ZIP Code
                                                                                   Property was attached, seized, or levied.


Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
           Case 25-31438-BFK                         Doc 13           Filed 04/28/25 Entered 04/28/25 10:36:11                               Desc Main
                                                                     Document     Page 41 of 54
Debtor 1          James Bradford Hines Sr.
                  _______________________________________________________                                                       25-31438
                                                                                                         Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     ✔ No

      Yes. Fill in the details.
                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     ✔ No

      Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     ✔ No

      Yes. Fill in the details for each gift.

             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
           Case 25-31438-BFK                           Doc 13            Filed 04/28/25 Entered 04/28/25 10:36:11                                      Desc Main
                                                                        Document     Page 42 of 54
Debtor 1            James Bradford Hines Sr.
                    _______________________________________________________                                                            25-31438
                                                                                                                Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     ✔ No

      Yes. Fill in the details for each gift or contribution.
             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔ No
      Yes. Fill in the details.
             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      No
     
     ✔ Yes. Fill in the details.


                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             Chung & Press PC
             Person Who Was Paid
                                                                   Payment for prior C13 made within a year.
             ___________________________________
             6718 Whittier Ave
             Number       Street                                                                                                         _________
                                                                                                                                         04/2024             $_____________
                                                                                                                                                               1,687.00

             ___________________________________
             Ste 200
                                                                                                                                         _________           $_____________
             ___________________________________
             Mc Lean             VA      22101
             City                       State    ZIP Code


             ____________________________________________
             Email or website address
             Debtor's wife
             ___________________________________
             Person Who Made the Payment, if Not You



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
           Case 25-31438-BFK                         Doc 13             Filed 04/28/25 Entered 04/28/25 10:36:11                                Desc Main
                                                                       Document     Page 43 of 54
Debtor 1          James Bradford Hines Sr.
                  _______________________________________________________                                                           25-31438
                                                                                                             Case number (if known)_____________________________________
                  First Name      Middle Name              Last Name




                                                                   Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                    transfer was made     payment

           Chung & Press P.C.
           ____________________________________
           Person Who Was Paid
                                                                                                                                    04/2025
                                                                                                                                    _________               3,000.00
                                                                                                                                                          $_____________
           ____________________________________
           Number       Street

                                                                                                                                    _________             $_____________
           ____________________________________

           ____________________________________
           City                        State    ZIP Code



           ________________________________________________
           Email or website address

           Debtor's wife
           ___________________________________
           Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     ✔ No

      Yes. Fill in the details.
                                                                   Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                    transfer was made
           ____________________________________
           Person Who Was Paid
                                                                                                                                    _________             $____________
           ____________________________________
           Number        Street

           ____________________________________                                                                                     _________             $____________

           ____________________________________
           City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
      No
     
     ✔ Yes. Fill in the details.


                                                                   Description and value of property         Describe any property or payments received      Date transfer
                                                                   transferred                               or debts paid in exchange                       was made
           unknown
           ___________________________________                    2017 trailer, $800.00                     $800
           Person Who Received Transfer

           ___________________________________                                                                                                              _________
                                                                                                                                                            06/01/2024
           Number       Street

           ___________________________________

           ___________________________________
           City                        State    ZIP Code


           Person’s relationship to you none
                                        _____________

           ___________________________________
           Person Who Received Transfer
                                                                                                                                                             _________
           ___________________________________
           Number       Street

           ___________________________________

           ___________________________________
           City                        State    ZIP Code

           Person’s relationship to you _____________

Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
           Case 25-31438-BFK                        Doc 13               Filed 04/28/25 Entered 04/28/25 10:36:11                               Desc Main
                                                                        Document     Page 44 of 54
Debtor 1           James Bradford Hines Sr.
                   _______________________________________________________                                                          25-31438
                                                                                                             Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     ✔ No

      Yes. Fill in the details.
                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
      No
     
     ✔ Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            Principal
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___              Checking               10/01/2024
                                                                                                                                 _________               12,358.00
                                                                                                                                                        $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                
                                                                                                        ✔      401k
                                                                                                          Other__________


           PNC
           ____________________________________                        XXXX–___ ___ ___ ___             
                                                                                                        ✔
                                                                                                          Checking               12/31/2024
                                                                                                                                 _________               0.00
                                                                                                                                                        $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     ✔ No

      Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                Yes
            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
           Case 25-31438-BFK                            Doc 13              Filed 04/28/25 Entered 04/28/25 10:36:11                                       Desc Main
                                                                           Document     Page 45 of 54
Debtor 1            James Bradford Hines Sr.
                    _______________________________________________________                                                                     25-31438
                                                                                                                         Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    ✔ No

     Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     ✔ No

      Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     ✔ No

      Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



           ____________________________________                     _______________________________                                                                    _________
           Name of site                                             Governmental unit

           ____________________________________                     _______________________________
           Number        Street                                     Number    Street

                                                                    _______________________________
           ____________________________________                     City                   State   ZIP Code


           ____________________________________
           City                         State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
           Case 25-31438-BFK                         Doc 13               Filed 04/28/25 Entered 04/28/25 10:36:11                                          Desc Main
                                                                         Document     Page 46 of 54
Debtor 1           James Bradford Hines Sr.
                   _______________________________________________________                                                                     25-31438
                                                                                                                        Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     ✔ No

      Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     ✔ No

      Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case

           Case title
                                                                    ________________________________                                                                       Pending
                                                                    Court Name
                                                                                                                                                                           On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                      Concluded

           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)

            A partner in a partnership
            An officer, director, or managing executive of a corporation
            An owner of at least 5% of the voting or equity securities of a corporation
      No. None of the above applies. Go to Part 12.
     
     ✔ Yes. Check all that apply above and fill in the details below for each business.

                                                                    Describe the nature of the business                                Employer Identification number
            H&S Construction & Design LLC
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name                                          Construction

            259 N Point Dr
            ____________________________________                                                                                       EIN: ___
                                                                                                                                             8 ___
                                                                                                                                                 6 – ___
                                                                                                                                                     1 ___
                                                                                                                                                         2 ___
                                                                                                                                                           8 ___
                                                                                                                                                               4 ___
                                                                                                                                                                  5 ___
                                                                                                                                                                     4 ___
                                                                                                                                                                        6
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
            Clarksville         VA     23927                                                                                           From 01/06/2022
                                                                                                                                             _______                To 12/31/2023
                                                                                                                                                                       _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11
           Case 25-31438-BFK                        Doc 13              Filed 04/28/25 Entered 04/28/25 10:36:11                                Desc Main
                                                                       Document     Page 47 of 54
Debtor 1          James  Bradford Hines Sr.
                  _______________________________________________________                                                          25-31438
                                                                                                             Case number (if known)_____________________________________
                  First Name      Middle Name              Last Name




                                                                   Describe the nature of the business                     Employer Identification number
                                                                                                                           Do not include Social Security number or ITIN.
           ____________________________________
           Business Name
                                                                                                                           EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
           ____________________________________
           Number        Street
                                                                                                                           Dates business existed

           ____________________________________

                                                                   Name of accountant or bookkeeper
           ____________________________________                                                                            From     _______         To _______
           City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     ✔ No

      Yes. Fill in the details below.
                                                                   Date issued



           ____________________________________                    ____________
           Name                                                    MM / DD / YYYY


           ____________________________________
           Number        Street


           ____________________________________

           ____________________________________
           City                        State    ZIP Code




 Pa rt 1 2 :      Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




          /s/ James Bradford Hines Sr.
           ______________________________________________                        _____________________________
           Signature of Debtor 1                                                    Signature of Debtor 2


           Date ________________
                 04/28/2025                                                         Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       No
      
      ✔ Yes




      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      ✔ No

       Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                                    Declaration, and Signature (Official Form 119).




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
            Case 25-31438-BFK            Doc 13        Filed 04/28/25 Entered 04/28/25 10:36:11                Desc Main
               James Bradford Hines Sr.               Document     Page 48 of 54        25-31438
 Debtor 1                                                          _                  Case number (if known)
              First Name   Middle Name    Last Name



                                              Continuation Sheet for Official Form 107


9) Lawsuits

Case Title: SMAK HOLDING M LLC v H&S Construction

Case Number: CL24-63

Court Name: Mecklenburg Circuit Court

Court Address: PO Box 530, Boydton, VA 23917

Case Status: Pending

Nature of the case: Breach of contract; Date filed: 01/17/2024

-------

Case Title: Commonwealth v Hines

Case Number: CR24000271

Court Name: Mecklenburg Circuit Court

Court Address: , ,

Case Status: Pending

Nature of the case: Contractor advance pay; Date filed: 10/21/2024

-------




  Official Form 107                          Statement of Financial Affairs for Individuals
              Case 25-31438-BFK                           Doc 13       Filed 04/28/25 Entered 04/28/25 10:36:11                       Desc Main
                                                                      Document     Page 49 of 54

  Fill in this information to identify your case:

                     James Bradford Hines Sr.
   Debtor 1
                     First Name           Middle Name           Last Name

   Debtor 2
   (Spouse, if filing)   First Name         Middle Name           Last Name



   United States Bankruptcy Court for the: Eastern District of Virginia

   Case number       25-31438
   (if known)
                                                                                                                                          Check if this is
                                                                                                                                          an amended
                                                                                                                                          filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                       12/15

If you are an individual filing under chapter 7, you must fill out this form if:
◾ creditors have claims secured by your property, or
◾ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known).

 Part 1:       List Your Creditors Who Have Secured Claims


 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
                                                                     What do you intend to do with the property     Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                     that secures a debt?                           exempt on Schedule C?
   Creditor's                                                                         Surrender the property.                   No
   name:                 Ally Financial
                                                                                      Retain the property and redeem it.        Yes
   Description of 2021 Ford F250                                                      Retain the property and enter into a
   property
   securing debt:                                                                     Reaffirmation Agreement.
                                                                                      Retain the property and [explain]:
                                                                                      Retain and Pay

   Creditor's                                                                         Surrender the property.                   No
   name:                 Chase Auto
                                                                                      Retain the property and redeem it.        Yes
   Description of 2020 Chevrolet 2500 High Country                                    Retain the property and enter into a
   property
   securing debt:                                                                     Reaffirmation Agreement.
                                                                                      Retain the property and [explain]:
                                                                                      Retain and Pay

   Creditor's                                                                         Surrender the property.                   No
   name:                 Synchrony Bank
                                                                                      Retain the property and redeem it.        Yes
   Description of 2020 Polaris XP4 1000 SXS                                           Retain the property and enter into a
   property
                                                                                      Reaffirmation Agreement.
   securing debt:
                                                                                      Retain the property and [explain]:
                                                                                      Retain and pay




 Official Form 108                                              Statement of Intention for Individuals Filing Under Chapter 7                      page 1 of 2
            Case 25-31438-BFK               Doc 13       Filed 04/28/25 Entered 04/28/25 10:36:11 Desc Main
Debtor        James Bradford Hines Sr.                  Document     Page 50 of 54     Case number(if known) 25-31438



                                                                     What do you intend to do with the property    Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                     that secures a debt?                          exempt on Schedule C?
  Creditor's                                                             Surrender the property.                      No
  name:             Fifth Third Bank
                                                                         Retain the property and redeem it.           Yes
  Description of 2020 Bentley Admiral Pontoon w/ trailer                 Retain the property and enter into a
  property
  securing debt:                                                         Reaffirmation Agreement.
                                                                         Retain the property and [explain]:
                                                                         Retain and Pay

  Creditor's                                                             Surrender the property.                      No
  name:             PNC Bank
                                                                         Retain the property and redeem it.           Yes
  Description of 259 N Point Dr                                          Retain the property and enter into a
  property
  securing debt:                                                         Reaffirmation Agreement.
                                                                         Retain the property and [explain]:
                                                                         Retain and Pay



Part 2:      List Your Unexpired Personal Property Leases


 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
 in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
 You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
    Describe your unexpired personal property leases Will the lease be assumed?


Part 3:      Sign Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.



     /s/ James Bradford Hines Sr.
       Signature of Debtor 1                                                       Signature of Debtor 2


     Date 04/28/2025                                                             Date 04/28/2025
             MM/DD/YYYY                                                                 MM/DD/YYYY




Official Form 108                                  Statement of Intention for Individuals Filing Under Chapter 7                             page 2 of 2
           Case 25-31438-BFK                      Doc 13         Filed 04/28/25 Entered 04/28/25 10:36:11                                  Desc Main
 Fill in this information to identify your case:
                                                                Document     Page 51 of 54
                                                                                                          Check one box only as directed in this form and in
                                                                                                          Form 122A-1Supp:
 Debtor 1         James   Bradford Hines Sr.
                  __________________________________________________________________
                     First Name                Middle Name                  Last Name
                                                                                                          
                                                                                                          ✔ 1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name                  Last Name                      2. The calculation to determine if a presumption of
                                                                                                                abuse applies will be made under Chapter 7
                                         Eastern District
 United States Bankruptcy Court for the: ____________     of of
                                                       District Virginia
                                                                  _______________
                                                                                                                Means Test Calculation (Official Form 122A–2).
 Case number        25-31438
                    ___________________________________________                                            3. The Means Test does not apply now because of
 (If known)
                                                                                                                qualified military service but it could apply later.


                                                                                                           Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                 12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
        
        ✔ Married and your spouse is NOT filing with you. You and your spouse are:
          
          ✔ Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
           Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                            Column A             Column B
                                                                                                            Debtor 1             Debtor 2 or
                                                                                                                                 non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                       $_________           $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                 $_________           $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                               $_________           $__________

   5. Net income from operating a business, profession,
                                                                           Debtor 1     Debtor 2
      or farm
      Gross receipts (before all deductions)                                  $______   $______
        Ordinary and necessary operating expenses                         – $______ – $______
                                                                                                   Copy
        Net monthly income from a business, profession, or farm               $______   $______ here        $_________           $__________

   6. Net income from rental and other real property                       Debtor 1     Debtor 2
      Gross receipts (before all deductions)                                  $______   $______
        Ordinary and necessary operating expenses                         – $______ – $______
                                                                                                   Copy
        Net monthly income from rental or other real property                 $______   $______ here        $_________           $__________
  7. Interest, dividends, and royalties                                                                      $_________           $__________



Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                      page 1
            Case 25-31438-BFK                                         Doc 13               Filed 04/28/25 Entered 04/28/25 10:36:11                                          Desc Main
                                                                                          Document     Page 52 of 54

Debtor 1           James   Bradford Hines Sr.
                   _______________________________________________________                                                                          25-31438
                                                                                                                             Case number (if known)_____________________________________
                   First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                      $__________                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
            For you ..................................................................................   $______________
            For your spouse ..................................................................           $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.                                                   $__________                  $___________
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.
           ______________________________________                                                                                    $_________                   $___________
           ______________________________________                                                                                    $_________                   $___________
           Total amounts from separate pages, if any.                                                                            + $_________                  + $___________
   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                                                            $_________
                                                                                                                                                           +      $___________
                                                                                                                                                                                      = $__________
                                                                                                                                                                                        Total current
                                                                                                                                                                                        monthly income

   Part 2:           Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.       Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here        $__________

                  Multiply by 12 (the number of months in a year).                                                                                                                     x 12
       12b.       The result is your annual income for this part of the form.                                                                                                  12b.    $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household. ................................................................................................. 13.    $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


       14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.



       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                       Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                 Chapter 7 Statement of Your Current Monthly Income                                                                  page 2
           Case 25-31438-BFK                  Doc 13          Filed 04/28/25 Entered 04/28/25 10:36:11                              Desc Main
                                                             Document     Page 53 of 54

Debtor 1     James   Bradford Hines Sr.
             _______________________________________________________                                                     25-31438
                                                                                                  Case number (if known)_____________________________________
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


               /s/ James Bradford Hines Sr.
                   __________________________________________________________                   ______________________________________
                   Signature of Debtor 1                                                         Signature of Debtor 2

                       04/28/2025
                  Date _________________                                                         Date _________________
                       MM / DD / YYYY                                                                 MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                   page 3
              Case 25-31438-BFK                    Doc 13         Filed 04/28/25 Entered 04/28/25 10:36:11                               Desc Main
    Fill in this information to identify your case:              Document     Page 54 of 54

    Debtor 1           James Bradford Hines Sr.
                      __________________________________________________________________
                        First Name              Middle Name                Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name              Middle Name                Last Name


    United States Bankruptcy Court for the: Eastern
                                            ______________________
                                                    District of Virginia   District of __________

    Case number         25-31438
                        ___________________________________________
    (If known)

                                                                                                              Check if this is an amended filing

 Official Form 122A─1Supp
St a t e m e nt of Ex e m pt ion from Pre sum pt ion of Abuse U nde r § 7 0 7 (b)(2 )                                                                           12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this
is required by 11 U.S.C. § 707(b)(2)(C).


Pa rt 1 :        I de nt ify t he K ind of De bt s Y ou H a ve

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave on line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

     
     ✔
       No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
                  this supplement with the signed Form 122A-1.
      Yes. Go to Part 2.
Pa rt 2 :        De t e rm ine Whe t he r M ilit a ry Se rvic e Provisions Apply t o Y ou


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
 No. Go to line 3.
 Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                  10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                   No. Go to line 3.
                   Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                        Then submit this supplement with the signed Form 122A-1.
3. Are you or have you been a Reservist or member of the National Guard?
           No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
           No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Check any one of the following categories that applies:
                  I was called to active duty after September 11, 2001, for at least               If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                             Form 22A-1. On the top of page 1 of Form 22A-1, check
                                                                                                    box 3, The Means Test does not apply now, and sign
                  I was called to active duty after September 11, 2001, for at least               Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                                    Form 22A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                                    Official Form 22A-1 during the exclusion period. The
                  I am performing a homeland defense activity for at least 90 days.                exclusion period means the time you are on active duty
                                                                                                    or are performing a homeland defense activity, and for
                  I performed a homeland defense activity for at least 90 days,                    540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days before
                                                                                                    If your exclusion period ends before your case is closed,
                     I file this bankruptcy case.
                                                                                                    you may have to file an amended form later.




Official Form 122A-1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                     page 1
